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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


    DONNA CURLING, ET AL.,
    Plaintiffs,
                                                 Civil Action No. 1:17-CV-2989-AT
    v.

    BRIAN KEMP, ET AL.,
    Defendants.

     COALITION PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
             STATE DEFENDANTS’ MOTION TO STAY

         Plaintiffs Coalition for Good Governance, William Digges III, Laura Digges,

Megan Missett, and Ricardo Davis (the “Coalition Plaintiffs”) file this Memorandum

in Opposition to State Defendants’ Motion to Stay (the “Motion”).

                                    INTRODUCTION

         If nothing else, the current Motion throws into stark relief the competing

views and attitudes of the State Defendants, on the one hand, and Plaintiffs and the

Court, on the other. All Plaintiffs and the Court are exerting enormous effort in this

case to protect the right that is of “the most fundamental significance under our

constitutional structure”1—the right to vote. The State Defendants appear to be put


1
  See Order, Docket No. 309, p. 33 (quoting Burdick v. Takushi, 504 U.S. 428, 433
(1992).
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off by the entire enterprise and principally interested in “sav[ing] them[selves from]

the indignity of being dragged into federal court by private litigants.”2 At the risk of

offending the State Defendants’ imperious sensibilities, the Coalition Plaintiffs

submit that the values they seek to protect are of a higher order.

        The Coalition Plaintiffs agree with the Curling Plaintiffs that time is of the

essence in this matter. All parties to this case, except perhaps those who administer

elections, appear to realize that this case is not merely about the upcoming November

2018 elections. The Curling Plaintiffs’ prediction that “there will likely be elections

even next year”3 is exactly correct and highlights the need for prompt remedial

action. The following is a list of elections scheduled before the 2020 elections:

2018-19 Scheduled State Office Elections         Election Date
2018 General Election                            November 6, 2018
Special Elections4 and Runoff Elections          December 4, 2018
Federal Runoff Elections                         January 8, 2019
Special Election Date                            March 19, 2019



2
    See State Defendants’ Memorandum, p. 5.
3
    See Curling Plaintiffs’ Memorandum in Opposition to Motion to Stay, p. 1.
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  At least one special election has been scheduled for December 4, 2018, by Order
of the Banks County Superior Court in Gasaway v. Ellison (18-cv-249).

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Special Election Runoff Date                    April 16, 2019
Special Election Date                           June 18, 2019
Special Election Runoff Date                    July 16, 2019
Special Election Date                           September 17, 2019
Special Election Runoff Date                    October 15, 2019
General Election/Special Election Runoff Date November 5, 2019
General Election/Special Election Runoff Date December 3, 2019

       Like the Curling Plaintiffs, the Coalition Plaintiffs narrowed their claims and

the remedies they seek when filing their Third Amended Complaint (“TAC”)

specifically to avoid litigating Eleventh Amendment and legislative immunity

defenses. The Coalition Plaintiffs have asserted the following federal claims in the

TAC: (i) a 42 U.S.C. § 1983 claim for violation of the fundamental right to vote; (ii)

a 42 U.S.C. § 1983 claim for violation of the Fourteenth Amendment’s guarantee of

equal protection, based on the severe burdens placed on the Plaintiffs’ right to vote,

right to freedom of speech and association and Georgia constitutional right to a

secret ballot.

       The TAC asks the Court to: (i) declare unconstitutional holding public

elections using any model DRE; (ii) enjoin Defendants from enforcing O.C.G.A. §

21-2-383(b) and Georgia State Election Board Rule 183–1–12–.01 and from

requiring voters to cast votes using DREs; (iii) prohibit Defendants from conducting
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public elections with optical scanned paper ballots without also requiring post-

election, pre-certification audits of paper ballots to verify the results; and (iv)

prohibit Defendants from conducting public elections without also requiring

subordinate election officials to allow meaningful public observation of all stages of

election processing.

       As they did in their Motion to Dismiss the State, Defendants insist in the

Motion to Stay upon reinventing the Coalition Plaintiffs’ claims to fit the defenses

they wish to mechanically invoke. This Court has rejected that effort, leading to the

instant Motion to Stay the case pending the outcome of Defendants’ appeal of the

standing and immunity questions decided by the Court’s denial of their Motion to

Dismiss.

                                  ARGUMENT5

    A. The filing of a frivolous appeal does not strip the Court of jurisdiction.

       In the Introduction of their Memorandum, the State Defendants introduce the

issue that justifies denial of the Motion. The State Defendants argue, “Proceedings

should be stayed …because once a non-frivolous appeal has been filed, the district



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  As all parties have noted, the Court has had sufficient—if not painfully sufficient—
exposure to this case such that a recitation of additional background is not likely
necessary.

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court loses jurisdiction over the case…” See Memorandum in Support of Motion to

Stay, p. 1 (emphasis added).6 If the law is developed in a sensible manner, it should

not reward parties for wasting the trial court and the appellate court’s time and

attention by filing frivolous appeals that are designed only to further a transparent

strategy of delay. Hence, a finding by this Court that the pending appeal is frivolous

dictates whether the appeal strips the Court of jurisdiction to proceed.

    B. The State Defendants’ appeal is frivolous.

       1. The State Defendants’ immunity defense is frivolous.

       A finding of frivolity is plainly warranted. As the Court already found in its

Order, the State Defendants’ arguments regarding their Eleventh Amendment

immunity defense “are meritless.” See Order, p. 29 (Docket 309). For example, as

the Court correctly noted, the State Defendants inconsistently argued that “Plaintiffs

seek to remedy past, not prospective, conduct,” yet the centerpiece of their

opposition to preliminary injunctive relief is that a mandated change in voting



6
   The requirement that the appeal be non-frivolous is also acknowledged at pages
2–3 of the State Defendants’ Memorandum. Nearly every cited authority notes the
requirement that the appeal be non-frivolous. The only exception is Bryant v. Jones,
No. 1:04-cv-2462-WSD, 2007 WL 113959 (N.D.Ga. Jan. 10, 2007), where the
defendant appealed on the issue of immunity but did not oppose the defense’s motion
to stay. The court listed the absence of opposition as a reason the stay was granted.
Id. at 4. Given that a court is not required to declare an appeal frivolous in the
absence of opposition to such a motion, the court offered no further analysis.
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processes will wreak havoc on “the upcoming November 2018 election.” See Order,

p. 29-30 and n. 23 (Docket 309)

      Similarly, the State Defendants argue that Plaintiffs have not alleged ongoing

and continuing violations—the “violation” being the continued use of DREs—while

they have made abundantly clear throughout these proceedings that they intend to

conduct elections into the undefined future using insecure and un-auditable DREs.

Internally inconsistent supporting arguments are a hallmark of frivolous positions,

and the State Defendants’ positions are rife with such defects.

      Like the Curling Plaintiffs, the Coalition Plaintiffs only seek prospective

injunctive relief and have made that abundantly clear in the TAC. Accordingly, the

relief sought by the Coalition Plaintiffs is not barred by the Eleventh Amendment

pursuant to Ex parte Young.

      Additionally, the TAC does not seek to impose liability upon any state

legislator; nor does it seek to force any legislative body to take any particular action.

Hence, there is no basis for the assertion of the defense of legislative immunity.

Moreover, the State Defendants never identify which of the Coalition Plaintiffs’

claims is purportedly susceptible to the defense of legislative immunity.




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      Hence, the TAC implicates neither sovereign immunity nor legislative

immunity. The Coalition Plaintiffs completely agree with and hereby adopt the

arguments advanced by the Curling Plaintiffs regarding those immunity defenses.

      2. The issue of standing is not immediately appealable, and the Coalition
         Plaintiffs have standing in any event.

      The Coalition Plaintiffs again entirely agree with and adopt the Curling

Plaintiffs’ arguments and analysis regarding the appealability of the standing issue.

There is no basis in this matter for the appellate court to exercise pendent appellate

jurisdiction over the denial of the Defendants’ motion to dismiss for lack of standing.

The immunity issues are in no way “inextricably intertwined”7 with the standing

issue, and the State Defendants make no meaningful attempt to explain the asserted

connection between these unrelated issues.

      The State Defendants also argue that the Coalition Plaintiffs lack standing

because they have failed to allege “a concrete ‘injury in fact.’” In its Order, however,

the Court recites more than two pages of allegations of concrete injuries in fact

experienced by the various Plaintiffs and cites more than ample authority for the




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   The description that the State Defendants appear to have mistakenly used—
“inexplicably intertwined”—may, however, be more apt. See State Defendants’
Memorandum, p. 14.

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proposition that those allegations are sufficient to withstand a motion to dismiss.8

See Order, p. 17–19 (Docket 309). In short, the standing issue, to the extent it can be

characterized as an issue, offers no basis for a stay of this case.

                                   CONCLUSION

      For the foregoing reasons, the Coalition Plaintiffs submit that the State

Defendants’ Motion to Stay be denied.

      Dated: October 1, 2018.

      Respectfully submitted,

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                                         Georgia Bar No. 382515

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  The Motion does not appear to challenge the Coalition’s associational or
organizational standing.
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         CERTIFICATE OF COMPLIANCE WITH LR 5.1C, NDGa

      I hereby certify pursuant to LR 7.1D, NDGa that the foregoing document has

been prepared with one of the font and point selections approved by this Court in

LR 5.1C, NDGa, using a 14-point Times New Roman font.

                                     /s/ Cary Ichter
                                     Cary Ichter
                                     Attorney for Plaintiff
                                     Coalition of Good Governance




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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 1, 2018, I electronically filed the foregoing

COALITION PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO STATE

DEFENDANTS’ MOTION TO STAY using the Courts CM/ECF system which will

electronically serve all counsel of record.

      This 1st day of October, 2018.

                                        /s/ Cary Ichter
                                        Cary Ichter
                                        Attorney for Plaintiff
                                        Coalition of Good Governance




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